Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 1 of 29




                                              Exhibit D
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 2 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 3 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 4 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 5 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 6 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 7 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 8 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 9 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 10 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 11 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 12 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 13 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 14 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 15 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 16 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 17 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 18 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 19 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 20 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 21 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 22 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 23 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 24 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 25 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 26 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 27 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 28 of 29
Case 1:01-cv-12257-PBS Document 6197-6 Filed 06/26/09 Page 29 of 29
